$2 5HY $UUHVW:DUUDQW



                                           81,7(' 67$7(6 ',675,&7 &2857
                                                                   IRUWKH
                                                         District of Colorado
                                                  BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                    8QLWHG6WDWHVRI$PHULFD
                               Y
                                                                              &DVH1R 19-mj-00246-NYW
                 5,&+$5'+2/=(5


                               Defendant


                                                       $55(67:$55$17
7R      $Q\DXWKRUL]HGODZHQIRUFHPHQWRIILFHU

          <28$5(&200$1'('WRDUUHVWDQGEULQJEHIRUHD8QLWHG6WDWHVPDJLVWUDWHMXGJHZLWKRXWXQQHFHVVDU\GHOD\
(name of person to be arrested)        5,&+$5'+2/=(5                                                                                    
ZKRLVDFFXVHGRIDQRIIHQVHRUYLRODWLRQEDVHGRQWKHIROORZLQJGRFXPHQWILOHGZLWKWKHFRXUW

u ,QGLFWPHQW                u 6XSHUVHGLQJ,QGLFWPHQW        u ,QIRUPDWLRQ        u 6XSHUVHGLQJ,QIRUPDWLRQ             ✔ &RPSODLQW
                                                                                                                       u
u 3UREDWLRQ9LRODWLRQ3HWLWLRQ               u 6XSHUYLVHG5HOHDVH9LRODWLRQ3HWLWLRQ       u 9LRODWLRQ1RWLFH          u 2UGHURIWKH&RXUW

7KLVRIIHQVHLVEULHIO\GHVFULEHGDVIROORZV
  9LRODWLRQRI7LWOH8QLWHG6WDWHV&RGH6HFWLRQ D  DQG G  $WWHPSWLQJWRREVWUXFWUHOLJLRXVH[HUFLVHE\IRUFHXVLQJ
  H[SORVLYHVDQGILUH




'DWH       02August 25, 2012
               Nov 2019
                                                                                            Issuing officer’s signature
                                                                                                              signature
                                                                                    NinaY.Wang
&LW\DQGVWDWH         'HQYHU &RORUDGR                                            UnitedStatesMagistrateJudge
                                                                                              Printed name and title


                                                                   5HWXUQ

           7KLVZDUUDQWZDVUHFHLYHGRQ(date)                           DQGWKHSHUVRQZDVDUUHVWHGRQ (date)
DW (city and state)                                            

'DWH
                                                                                           Arresting officer’s signature



                                                                                              Printed name and title
